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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


  REGINA SMITH,

                       Plaintiff,
  vs.                                                       Case No. 3:17-cv-1081-J-32MCR

  DIVERSIFIED CONSULTANTS, INC.,

                       Defendant.


                                             ORDER

         Upon review, the parties’ Joint Motion to Transfer Venue (Doc. 5) is GRANTED under

  the Court’ authority to transfer venue in the interest of justice for the convenience of parties

  and witnesses to any division “to which all parties have consented.” 28 U.S.C. § 1404(a).

         The Clerk is directed to transfer this case to the Tampa Division for random

  reassignment and to close the Jacksonville file.

         DONE AND ORDERED at Jacksonville, Florida this 24th day of October, 2017.




  s.
  Copies:

  counsel of record

  Keshia Jones, Tampa Division Manager
